B 10S1 (Supplement 1) (12/11)




                                UNITED STATES BANKRUPTCY COURT
                                                      Middle District of Tennessee

In re Dainon Tarquinius Sidney,                                                                               Case No. 13-09063-KML
      Debtor                                                                                                  Chapter 13




Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to §
1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: Ocwen Loan Servicing, LLC as servicer for Deutsche Bank National Trust Company As Trustee For
Indymac INDX Mortgage Loan Trust 2005-AR23, Mortgage Pass-Through Certificates Series 2005-AR23

                                                                             Court claim no. (if known): 3

Last four digits of any number                                               Date of payment change: 04/01/14
you use to identify the debtor’s xxxxxx0876                                                                  mm/dd/yy
account:                         W&A 725-243990                              Must be at least 21 days after the date of this notice.

                                                                             New total payment: $ 1,980.30
                                                                             Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment

  Will there be a change in the debtor’s escrow account payment?
  X No
   Yes     Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
            basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $                                      New escrow payment: $




  Part 2: Mortgage Payment Adjustment

  Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate
  note?
   No
  X Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why :

          Current interest rate: 2.625%                                New interest rate: 2.625%
          Current principal and interest payment: $ 1,306.45           New principal and interest payment: $ 1,302.34




  Part 3: Other Payment Change

  Will there be a change in the debtor’s mortgage payment for a reason not listed above?
  X No
   Yes     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
            (Court approval may be required before the payment change can take effect.)

            Reason for change:


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  Part 4: Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.

  Check the appropriate box.
  ❐ I am the creditor.   ❐ I am the creditor’s authorized agent.
                               (Attach copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
  information, and reasonable belief.




    /s/ Michael N. Wennerlund                          Date   06/11/2014
    Signature                                                 mm/dd/yyyy


  Print: Michael G. Clifford / Michael N. Wennerlund
  Title   Attorney for Ocwen Loan Servicing, LLC, as servicer for Deutsche Bank National Trust Company As Trustee
  For Indymac INDX Mortgage Loan Trust 2005-AR23, Mortgage Pass-Through Certificates Series 2005-AR23


  Company:        Wilson & Associates, PLLC


  Address: Creekside Crossing III
                8 Cadillac Drive, Suite 120
                Brentwood, Tennessee 37027



  Contact phone: (615)255-9388                Email:      mclifford / mwennerlund@wilson-assoc.com




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                                                   CERTIFICATE OF SERVICE
            On June 11, 2014 a copy of the foregoing was served via electronic mail, hand delivery,
        facsimile or United States Mail, postage prepaid, upon the parties listed below.



                                                            /s/ Michael N. Wennerlund
                                                            Michael G. Clifford (028691)
                                                            Michael N. Wennerlund (031332)


        NAMES AND ADDRESSES OF ENTITIES SERVED:

                 Maria M. Salas                                   Henry Edward Hildebrand, III
                 Attorney at Law                                  Trustee
                 33 Music Square West                             P.O. Box 340019
                 Suite 100A                                       Nashville, TN 37203-0019
                 Nashville, TN 37203




        NAMES AND ADDRESSES OF ENTITIES SERVED BY UNITED STATES MAIL:

                 Dainon Tarquinius Sidney
                 Debtors
                 605 Lakemeade Pointe
                 Old Hickory, TN 37138




        W&A No. 725-243990 / Loan No. xxxxxx0876




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